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                             EXHIBIT 4




                             EXHIBIT 4
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foundational principles of government transparency, public trial access, and press
freedoms were well established. Newspapers routinely reported on court proceedings, trials,
and government investigations (see Zenger v. Cosby, 1735; Gazette of the United States,
1789).

In today’s digital age, platforms like YouTube and other social media outlets serve the
same function as the 18th-century printing press—informing the public about
government actions. Under the Bruen framework, any attempt to suppress the publication of
deposition videos must be historically justified. To date, no such precedent exists, meaning
the default presumption is in favor of publication.

Protective Order Objection – No Good Cause Shown

Your request for a protective order restricting deposition recordings lacks a valid legal
basis. Seattle Times Co. v. Rhinehart, 467 U.S. 20 (1984), establishes that a protective
order can only be granted for “good cause” if specific harm is demonstrated. Courts have
repeatedly ruled that mere embarrassment or concern about public perception is not
sufficient to warrant a protective order.

Unless the County can provide a specific, compelling, and legally justified reason for such a
restriction, I will oppose any protective order and file a motion challenging any attempt to
suppress public access to these depositions. If the County believes there is actual harm that
justifies a restriction, I expect a detailed written legal justification by March 17, 2025.

My Intentions and Next Steps

I will proceed as follows:

   1. All depositions will be recorded in full compliance with FRCP 30(c)(1), utilizing a
      certified legal videographer under a court reporter’s supervision.
   2. I will disseminate these deposition videos publicly, including via YouTube, in the
      interest of government accountability, transparency, and press rights.
   3. If the County files a motion for a protective order, I will file a formal objection and
      invoke Seattle Times v. Rhinehart to ensure that no unconstitutional restrictions are
      imposed.
   4. If no valid legal justification is provided by March 17, 2025, I will assume that no
      restriction is warranted, and I will proceed with full public dissemination of all
      recorded depositions.

This case concerns serious First Amendment and government accountability issues, and
the public has the right to see and hear firsthand how government officials conduct
themselves in these depositions. Transparency serves justice and the public interest, and I
will not allow this process to be hidden behind unnecessary secrecy.

Please confirm McKenzie’s availability and whether the County will provide a valid legal
justification for a protective order.

Best regards,
Drew J. Ribar
Plaintiff, Pro Se
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3480 Pershing Ln.
Washoe Valley, NV 89704
(775) 223-7899
const2audit@gmail.com


On Wed, Mar 12, 2025 at 5:15 PM Liddell, Lindsay L <lliddell@da.washoecounty.gov>
wrote:

 Hi Mr. Ribar,



 I am in receipt of the deposition notices. I will confirm the date with Assistant Director
 McKenzie. As I explained in a previous email, we may need to reschedule the depositions if
 we cannot resolve the protective order issue beforehand. Based on your email
 correspondence, I assume you are not in agreement. However, I have not yet received a
 formal position from you on the concept of a protective order prohibiting use or publication
 of compelled discovery, including deposition video. I received your position on recording
 meet and confer discussions, but I don’t think I received a direct response regarding the
 proposed protective order. I also received your draft motion on that issue, but have not
 seen it filed. Nonetheless, do you intend to publish deposition video on youtube or other
 social media?



 Please let me know your position on the protective order at your earliest convenience.



 Sincerely,

 Lindsay Liddell



                   Lindsay L. Liddell

                   Deputy District Attorney

                   District Attorney's Office

                   lliddell@da.washoecounty.gov | O: 775-337-5714

                   One South Sierra Street, Reno, NV 89501
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From: Const2Audit <const2audit@gmail.com>
Sent: Wednesday, March 12, 2025 2:25 PM
To: Liddell, Lindsay L <lliddell@da.washoecounty.gov>
Cc: Burnett, Andrew Cobi <CBurnett@da.washoecounty.gov>; jcarter@sierracrestlaw.com;
akertis@sierracrestlaw.com
Subject: Re: Depositions




Dear Ms. Liddell,

Thank you for providing the availability for Assistant Director McKenzie. Based on the
proposed dates, I have reserved the Washoe County Law Library conference room for
Monday, March 31, 2025, from 1:00 PM to 4:00 PM to accommodate her deposition.

I will be issuing formal deposition notices in accordance with FRCP 30 and will serve them
upon all parties. Please confirm whether this date works for Assistant Director McKenzie, or
if any adjustments are necessary.

As previously confirmed, all depositions will be recorded, in compliance with FRCP 30(c)
(1).

I appreciate your coordination, and please let me know if any further details need to be
addressed.

Best regards,
Drew J. Ribar
Plaintiff, Pro Se
3480 Pershing Ln.
Washoe Valley, NV 89704
(775) 223-7899



On Mon, Mar 3, 2025 at 9:53 AM Liddell, Lindsay L <lliddell@da.washoecounty.gov>
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wrote:

  Hi Mr. Ribar,



  Thank you for confirming those dates. I will keep an eye out for the formal notices.



  Assistant Director McKenzie is available on the following dates:



  Friday March 28

  Monday March 31

  Friday April 11

  Monday April 14

  Friday April 18




                       Lindsay L. Liddell

                       Deputy District Attorney

                       District Attorney's Office

                       lliddell@da.washoecounty.gov | O: 775-337-5714

                       One South Sierra Street, Reno, NV 89501




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  From: Const2Audit <const2audit@gmail.com>
  Sent: Friday, February 28, 2025 11:10 AM
  To: Liddell, Lindsay L <lliddell@da.washoecounty.gov>
  Cc: Burnett, Andrew Cobi <CBurnett@da.washoecounty.gov>; jcarter@sierracrestlaw.com;
  akertis@sierracrestlaw.com
  Subject: Re: Depositions




  Dear Ms. Liddell,

  Thank you for your response and for coordinating deposition availability for Director
  Scott and Ms. Bowen. Based on the availability provided and to ensure an efficient
  deposition schedule, I have reserved the Washoe County Law Library conference
  room on the following dates:

        Monday, March 24, 2025, from 1:00 PM to 4:00 PM – Reserved for Ms. Bowen.
        Friday, April 4, 2025, from 8:00 AM to 11:00 AM – Reserved for Director Scott.

  Additionally, I am still awaiting proposed dates for Assistant Director McKenzie and
  will coordinate accordingly once those are provided.

  Regarding videorecording, I understand your position and confirm that depositions will
  be recorded by a certified legal videographer under the direction of a court
  reporter, in compliance with FRCP 30(c)(1).

  To finalize the depositions, I will issue formal deposition notices in accordance with
  FRCP 30 and serve them upon all parties. Please confirm whether the above dates work
  for the witnesses, or if any adjustments need to be made.

  I look forward to your confirmation and will proceed with court reporter arrangements
  upon receipt.

  Best regards,
  Drew J. Ribar
  Plaintiff, Pro Se
  3480 Pershing Ln.
  Washoe Valley, NV 89704
  (775) 223-7899
  const2audit@gmail.com



  On Wed, Feb 26, 2025 at 4:55 PM Liddell, Lindsay L <lliddell@da.washoecounty.gov>
  wrote:
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   Hi Mr. Ribar,



   Thank you for your patience. Our Center’s counsel are CC’d here because they have a
   right to attend the depositions as a party to the case.



   I was able to coordinate with Director Scott and Ms. Bowen to provide you proposed
   dates for their depositions below. I’m still waiting to get some dates from Assistant
   Direct McKenzie, and I will send you a follow up message with dates for her once I have
   them. These dates are not reserved in anyone’s calendar, so please let us know when
   you would like to schedule the depositions as soon as possible. This will avoid
   unnecessary back-and-forth if one of the witnesses has calendar changes that affect
   their below availability.



   I anticipate that it will take some time to coordinate reserving a room in the law library
   as well as hiring a court reporter for each. Please let me know if/when a room and court
   reporter are confirmed for each deposition, and send deposition notices for each in
   compliance with FRCP 30. For your convenience, FRCP 30 can be reviewed here: Rule
   30. Depositions by Oral Examination | Federal Rules of Civil Procedure | US Law | LII /
   Legal Information Institute



   Regarding videotaping the depositions, all we ask is that it is done by a legal
   videographer under a court reporter’s direction in compliance with FRCP 30(c)(1). The
   below parties object to any videorecording that does not comply with FRCP 30,
   including recording by a party using their personal devices. See Alcorn v. City of Chicago,
   336 F.R.D. 440, 443 (N.D. Ill. 2020)(prohibiting use of Zoom recorded deposition
   footage, and noting that non-certified iPhone videos of a deposition would not comply
   with Rule 30); see also Carvalho v. Reid, 193 F.R.D. 149, 153 (S.D.N.Y. 2000)(upholding
   Magistrate Judge’s Order that a pro se plaintiff “would not be permitted to self-
   videotape the deposition”); C.G. v. Winslow Twp. Bd. of Educ., No. CIV. 13-6278
   RBK/KMW, 2015 WL 3794578, at *3 (D.N.J. June 17, 2015)(barring plaintiff’s attorney
   “from videotaping the deposition himself on his laptop computer because he was not a
   ‘officer’ within the meaning of the [Federal Rules of Civil Procedure]”).



   Director Scott:
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   Thursday April 3

   Friday April 4

   Thursday April 10

   Friday April 11

   Thursday April 17

   Friday April 18



   Ms. Bowen:

   Monday March 24th – morning or afternoon

   *Ms. Bowen is a WCLS Branch Manager, and as such she must schedule supervisor
   coverage at the branch for any absence. If this date does not work, please provide
   other proposed dates so that she can determine whether someone is available to cover
   supervisory duties for those dates.



                        Lindsay L. Liddell

                        Deputy District Attorney

                        District Attorney's Office

                        lliddell@da.washoecounty.gov | O: 775-337-5714

                        One South Sierra Street, Reno, NV 89501




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    From: Const2Audit <const2audit@gmail.com>
    Sent: Friday, February 21, 2025 12:25 PM
    To: Liddell, Lindsay L <lliddell@da.washoecounty.gov>
    Cc: Large, Michael <mlarge@da.washoecounty.gov>; Burnett, Andrew Cobi
    <CBurnett@da.washoecounty.gov>
    Subject: Re: Depositions




    Dear Ms. Liddell,

    Thank you for reaching out and for informing me about the transition of counsel. I
    appreciate your prompt attention to scheduling the depositions of Director Scott,
    Assistant Director McKenzie, and Ms. Bowen.

    I am flexible with scheduling and open to conducting the depositions on the same
    day or separately, depending on what works best for all parties involved. Based on
    the scope of questioning, I anticipate each deposition may last approximately 2-3
    hours, but I am willing to adjust as needed.

    Additionally, I would like the depositions to be video recorded to ensure an
    accurate and complete record. I will make arrangements for a court reporter and
    videographer from [insert chosen service, e.g., "Bonanza Litigation Services"]. If you
    or the deponents have any specific preferences regarding the videographer setup, please
    let me know so we can coordinate accordingly.

    Regarding the venue, reserving a conference room at the law library sounds
    suitable. Please provide the available dates for the deponents, and I will confirm
    arrangements on my end.

    Looking forward to your response.

    Best regards,
    Drew J. Ribar
    3480 Pershing Ln.
    Washoe Valley, NV 89704
    (775) 223-7899
    const2audit@gmail.com



    On Fri, Feb 21, 2025 at 11:18 AM Liddell, Lindsay L <lliddell@da.washoecounty.gov>
    wrote:
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      Hi Mr. Ribar,



      I’m going to be taking over this case from DDA Mike Large, along with DDA Cobi
      Burnett. I will touch base with the clients below and get you some dates. Do you
      want them to go on the same day?

      How long do you anticipate each deposition to last? This will help me coordinate
      proposed times with them. For example, if you expect half day depositions for each I
      can have them gather available dates for mornings or afternoons as opposed to their
      more limited availability for full days.



      I think the law library has some conference rooms that can be reserved for
      depositions, but we will need to coordinate once we have some proposed times. I
      think Bonanza and Sunshine Litigation Services have court reporters who will come to
      a neutral location but feel free to pay for the court reporter of your choosing.



      Thank you,

      Lindsay



                           Lindsay L. Liddell

                           Deputy District Attorney

                           District Attorney's Office

                           lliddell@da.washoecounty.gov | O: 775-337-5714

                           One South Sierra Street, Reno, NV 89501




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      From: Const2Audit <const2audit@gmail.com>
      Sent: Thursday, February 20, 2025 8:51 AM
      To: Large, Michael <mlarge@da.washoecounty.gov>
      Subject: Depositions




      Mr. Large,



      I would like to schedule depositions for Director Scott, Asst. Director McKenzie and
      Jonica Bowen. I would like to get this done as soon as possible. Let me know what
      works.



      You should listen to the recording of librarians that interrupted me during my public
      comment... They talked about my being demonetized and videos removed.



      I am working on amending my complaint and will include a new cause regarding the
      public comment I made on April 17, 2024 https://youtu.be/O002UTkVHiA

      Compare the actual words I used to what the librarians and the board approved for
      the minutes (see attached minutes #23) are polar opposites adding libel to my cause.  



      Respectfully,



      Drew Ribar

      Auditing Reno 911

      775-223-7899
